
Sneed, J.,
delivered the opinion of the court.
The defendant' in this action of replevin bought a mule and other articles from one Donalson, and executed his note therefor. To secure the payment thereof he conveyed the mule in trust to the plaintiff, who after due demand made, brought this action for the mule to be appropriated under the trust. The defence is, that the defendant owned but one other mule, and that he is entitled to both under' the-exemption law. The judgment was for the plaintiff and the defendant has appealed in error.
We have recently held in the case of Cox v. Ballentine, MS. Nashville, that the Legislature cannot prohibit the citizen from disposing of his property at will, and that the owner of property exempt from execution under our statutes, has the absolute power of disposition. It results that the plaintiff under the trust acquired a good title. Cox v. Ballentine, MS. In such a case as this however, the written trust was not essential to fix the rights of the vendor and the purchaser. A verbal contract that the title should not vest until the payment of the price, would have been quite as effective. Meigs’ R., 76; 2 Head, 502; 11 Hum., 50.
Affirm the judgment.
